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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WISCONSIN

 

UNITED STATES OF AMERICA,

 

RELEASE ORDER
Plaintiff,
* Case No. 2(- MJ-+2- SLC- 27 wh’)
AbRAM RKOF
Defendant.

 

For reasons stated on the record in this case, it is ORDERED that the above-named defendant shall
be released during the pendency of this case upon defendant’s promise to obey the following
conditions of release:

Standard Conditions for All Released Defendants

l, Defendant shall not commit any offense in violation of federal, state or local law
while on release.

2, Defendant shall appear at all proceedings as required and shall surrender at the
time and place directed by further court order for service of any sentence
subsequently imposed in this case,

3, Defendant shall report immediately to the U.S. Marshals Service for processing
and then to Pretrial Services for a post-hearing interview.

4, Defendant shall cooperate in the collection of a DNA sample as required by 18
U.S.C. § 3142(b).

5. Defendant shall hereafter meet with Pretrial Services at the times and places
directed and shall obey all directions and instructions of Pretrial Services.

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6. Defendant shall next appear at this location:

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at this date and time:

 

7. Defendant shall not engage in any undercover or informant activity on behalf of
any government agency, except for a debriefing, without prior written approval of
a district judge of this court.

8, If defendant is charged with a felony, then defendant shall not ship, transport or
receive any firearm or ammunition. Note that this is not a prohibition against the
continued possession of firearms, which is addressed in condition number 15,

below.

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This court has a zero-tolerance policy for drug use by criminal defendants released
on conditions. Violation of any condition of release or of any other direction or
instruction given by Pretrial Services relating to drugs or drug use shall result in
return to court for a hearing on the modification or revocation of conditions of
release. To ensure the fair enforcement of this policy, every criminal defendant
released on conditions shall be subjected to at least one random test for drug use.

Note Well: If defendant has a drug or alcohol use problem, it is defendant’s
obligation to advise Pretrial Services now so that appropriate conditions can be
considered and fashioned to address the problem.

Defendant shall surrender defendant’s passport to the clerk of this court. If the
defendant is acquitted or the charges are dismissed, then the clerk shall return the
passport to the defendant. If the defendant is convicted, then the clerk shall send
the passport and a copy of the judgment and conviction order to the U.S, State
Department. Defendant shall not apply for a replacement passport while on
pretrial release or while serving any sentence if convicted.

Defendant shall report in advance to Pretrial Services all changes in employment,
residence, and telephone.

If defendant has any contact with any representative of any law enforcement
agency regarding any criminal or traffic matter, then defendant shall report this
contact to Pretrial Services within 24 hours of the contact.

Additional Conditions

Defendant shall register with local law enforcement agencies as directed by Pretrial
Services.

Defendant shall seek and maintain employment in a manner approved by Pretrial
Services.

Defendant shall not use or possess firearms, destructive devices, or other dangerous
weapons.

Defendant shall /abstain from any / refrain from excessive / use of alcohol.

Defendant shall not associate in any manner with persons who use or possess
controlled substances, or previously were known to use or possess controlled
substances, and defendant shall avoid places where controlled substances are or
were known to have been used, possessed or dispensed.
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18. Defendant shall not use, possess, buy or sell any illicit or narcotic drugs or any
other controlled substance defined in 21 U.S.C. §802, unless prescribed by a
licensed medical practitioner with the knowledge of Pretrial Services. Defendant
shall not use methadone or obtain a prescription for methadone.

19. Defendant shall submit to urinalysis or other testing as directed by Pretrial
Services to detect drug or alcohol use.

20. Defendant shall undergo an Alcohol and Other Drug Assessment at the direction
of Pretrial Services and shall comply with any instructions or directions given by
Pretrial Services as a result of the assessment.

21, Defendant shall not associate with, speak to, telephone, text, email or have any
contact whatsoever with these people:

 

If codefendants are listed above, this prohibition does not apply to association that
occurs in the presence of the attorneys for all defendants during bona fide legal
defense meetings.

22. Defendant shail not travel outside the followirtg geographic area except wren
traveling difectly to this-cOurt or to the offie€ of defendant’s attorney fortmatters

is case, or when pfior permission has been obtained from

    

 
  

Prétrial Services:
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Travee ip Linirep To WD, WAH VAR TRAVEL LEIS Arroamey,
23. Defendant shall observe the following curfew: pré~Affravep BY Ar SI

 

Remain at this residence:

 

During these times:

 

Exceptions from this curfew must be approved in advance by Pretrial Services.

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Positioning $ ystem (GPS) as directed fetrial Services. Defendant's

/ shall / pay the cost of monitoring.

     

 
    
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25. Defendant shall be placed in the third-party custody of these people:

 

Custodian’s Promise to the Court

Each undersigned third-party custodian has read these conditions of release, understands what
these conditions require the defendant to do and not to do, and promises the court that the
custodian will:

(1) Supervise the defendant to ensure that the defendant complies with these
conditions of release;

(2) Use every effort to ensure that the defendant appears as required at court
proceedings in this case; and

(3) Immediately notify Pretrial Services, the court, and if needed, local law
enforcement authorities if defendant violates any release condition or if defendant
appears to be planning to flee or actually flees.

Signed: Date:

26. Defendant shall participate in mental health assessment, treatment and counseling
as approved and directed by Pretrial Services, Defendant shall follow all treatment
directives and take any medication prescribed by defendant’s treatment provider,
as approved by Pretrial Services. Defendant shall waive any patient-provider
privilege as to this process so that Pretrial Services may oversee it properly.
Defendant is responsible for obtaining funding for any required treatment,
counseling or medications, with assistance from Pretrial Services.

27. Defendant shall notify third parties, including his employer, his clients and the
financial institutions with which he conducts business, of the pending federal
charges and shall permit Pretrial Services to make notifications and to confirm
compliance with this condition.

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Notice of Penalties and Sanctions

The defendant’s violation of any of the conditions of release imposed in this order may result in the immediate
issuance of a warrant for the defendant’s arrest, the revocation of release, and an order of detention. It could alsc
result in a separate prosecution for contempt under 18 U.S.C. § 401, which is punishable by a term o}
imprisonment and a fine. See 18 U.S.C. § 3148.

If the defendant commits a crime while released pursuant to this order and is later convicted of that new crime
then the defendant can also be prosecuted in federal court for having committed a crime while released, whict
is a violation of 18 U.S.C. § 3147. If the new offense is a felony, the defendant would face up to ten years ir
prison. If the new offense is a misdemeanor, the defendant would face up to one year in prison. Any sentence
imposed for such a violation would be consecutive to any other sentence imposed upon the defendant.

It is a crime for the defendant knowingly to fail to appear as required by these conditions of release, or to fail tc
appear for the service of sentence pursuant to a court order, If the defendant was released in connection with <
charge of, or while awaiting sentence, surrender for the service of a sentence, or appeal or certiorari afte
conviction for:

1. An offense punishable by death, life imprisonment, or imprisonment for a term of
fifteen years or more, the defendant shall be fined not more than $250,000 or
imprisoned for not more than ten years or both;

2. An offense punishable by imprisonment for a term of five years or more, but less
than fifteen years, the defendant shall be fined not more than $250,000 or
imprisoned for not more than five years, or both;

3, Any other felony, the defendant shall be fined not more than $250,000 or
imprisoned not more than two years, or both;

4, A misdemeanor, the defendant shall be fined not more than $100,000 or
imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be consecutive to a sentence o.
imprisonment for any other offense. See 18 U.S.C. § 3146.

It is a federal crime to intimidate, to influence, or to injure jurors or officers of the court or to attempt to do so
See 18 U.S.C, § 1503. ,

It is a federal crime to obstruct criminal investigations by bribery, or by disclosing the existence or content 0
subpoenas to financial institutions or the insurance industry. See 18 U.S.C, § 1510.

It is a federal crime to intimidate, to harass, to influence, or to injure witnesses, potential witnesses, victims 0:
informants, or to threaten or attempt to do so. See 18 U.S.C. § 1512.

It is a federal crime to retaliate against a witness, victim or informant, or to threaten or attempt to do so, See lg
USS.C. § 1513.
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Acknowledgment and Promise of the Defendant
I acknowledge that I am the defendant in this case,

I am aware of and I understand all of the conditions of release that have been
imposed upon me.

I promise to obey all conditions of release, to appear as directed, and to
surrender for service of any sentence imposed.

I am aware of and I understand the prohibitions and penalties set forth above
in the Notice of Penalties and Sanctions section of this release order.

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Signature of Defendant Date

 

Directions to the United States Marshal.
It is ORDERED that the Marshal shall:
xX Release the defendant after processing, in the ordinary course of the marshal’s business.
Detain the defendant in custody until notified by a judicial officer, the Clerk of Court,

or the Pretrial Service Office that the defendant has complied with all conditions of
release set in this order and therefore may be released on these conditions.

BY THE COURT:

STEPHEN L. CROCKER Date
Magistrate Judge
